Case 2:97-cr-20237-.]PI\/| Document 177 Filed 08/04/05 Page 1 of 3 Page|D 81
IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNE.SSE»E '.ll’."l“ D-G-

 

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UNITED sTATEs oF AMERICA ) QR.GMS. ‘Q?Zl?zt)g`!"h,§§lii
) WfDe't-§bi §- 1
Plaimiff, ) 97-20236-M1
) 97-zszz-M1 \/
vs ) 97-20238-1\/11
) 97-20239-M1
EDD:E JETER ) 97-20240-M1
) 97-20241-M1
Defendant. ) 05-20014-M1

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above ease to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to thel FCI-MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER

6 2005.

 

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the ‘/ day of August, 2005 .

dewitt

JO PHIPPS McCALLA
U ITED S'I`ATES DISTRICT JUDGE

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 177 in
case 2:97-CR-20237 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

